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                 IN THE UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF ARKANSAS
                            HARRISON DIVISION

 In re:

 MARILYN L. ERICKSON                                     Case No. 3:19-bk-70508
 Debtor                                                  Ch. 7



      ORDER GRANTING APPLICATION TO APPROVE EMPLOYMENT

       On November 7, 2019, Bianca Rucker, the duly appointed and acting Trustee for

the above-captioned estate (“Trustee”), filed her Application to Employ BK Global Real

Estate Services to Procure Consented Public Sale pursuant to 11 U.S.C § 363. Based on a

review of the Application, its exhibits, and the Court’s docket, the Court finds that the

Application to employ BK Global Real Estate Services located at 1095 Broken Sound

Parkway, N.W., Suite 100, Boca Raton, Florida 33487, is APPROVED and the Trustee is

authorized to employ BK Global Real Estate Services in the above-captioned case.

       IT IS SO ORDERED.



                                                 _____________________
                                                 HONORABLE BEN T. BARRY
                                                 U.S. BANKRUPTCY JUDGE


                                                            11/07/2019

PROPOSED ORDER PREPARED BY:

/s/ Bianca Rucker_____________
Bianca Rucker (2006310)
Rucker Law PLLC
One East Center St., Ste. 215
Fayetteville, AR 72701
Counsel for Bianca Rucker, Trustee




              EOD: November 7, 2019
